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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA ex rel.
 ELLSWORTH ASSOCIATES, LLP,

                           Plaintiff-Relator,     Case No.: 2:19-cv-02553-JMY

        v.

 CVS HEALTH CORPORATION, et al.,

                           Defendants.


                                         [PROPOSED] ORDER

       Upon consideration of the motion filed by Defendants CVS Health Corporation,

SilverScript Insurance Company, LLC, CVS Caremark Corporation, and CVS Pharmacy, Inc. to

dismiss Relator Ellsworth Associate LLP’s second amended complaint and the papers submitted

by the parties in support of and in opposition to the motion, it is hereby ORDERED that

Defendants’ motion is GRANTED. The second amended complaint (ECF No. 18)—including all

claims and counts set forth therein—are hereby DISMISSED WITH PREJUDICE as to

all Defendants.

       It is so ordered.



Dated: ____________________                     _____________________________________
                                                John M. Younge
                                                UNITED STATES DISTRICT JUDGE
